Case 09-10138-MFW Doc 290-3 Filed 02/13/09 Page 1 of 42

Exhibit B

Borow Affidavit

Case 09-10138-MFW_ Doc 290-3 Filed 02/13/09 Page 2 of 42

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

xX
Inre Chapter 11
: Case No. 09-10138 (KG)
Nortel Networks Inc., et al., Jointly Administered
Debtors

AFFIDAVIT OF JAY I. BOROW IN SUPPORT OF APPLICATION OF THE OFFICIAL
COMMITTEE OF UNSECURED CREDITORS FOR ORDER AUTHORIZING
EMPLOYMENT AND RETENTION OF CAPSTONE ADVISORY GROUP LLC AS
FINANCIAL ADVISOR, NUNC PRO TUNC TO JANUARY 26, 2009

STATE OF NEW YORK _ )
COUNTY OF NEW YORK ~

Pursuant to Rule 2014(a) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy
Rules”), and Rule 2014-1 of the Local Bankruptcy Rules for the United States Bankruptcy Court
for the District of Delaware (the “Local Bankruptcy Rules”), JAY I, BOROW, being duly
sworn, deposes and says:

1. I am a member of the firm and Executive Director of Capstone Advisory Group,

LLC (“Capstone”), a professional services firm with offices located at 1065 Avenue of the

Americas, Suite 1801, New York, NY 10018. I am duly authorized to make this affidavit on

' The Debtors in these chapter 11 cases include: Nortel Networks Inc.; Nortel Networks Capital Corporation; Alteon
Websystems, Inc.; Alteon Websystems International, Inc.; Xros, Inc.; Sonoma Systems; Qtera Corporation; Coretek,
Inc.; Nortel Networks Applications Management Solutions, Inc.; Nortel Networks Optical Components, Inc,; Nortel
Networks HPOCS Inc.; Architel Systems (U.S.) Corporation; Nortel Networks International Inc.; Northern Telecom
International Inc.; and Nortel Networks Cable Solutions Inc.
Case 09-10138-MFW Doc 290-3 Filed 02/13/09 Page 3 of 42

behalf of Capstone. Uniess otherwise stated in this Affidavit, I have personal knowledge of the
facts set forth herein and, if called as a witness, I could and would testify thereto.”
2, I submit this Affidavit in support of the application (“Application”)’ of the

Official Committee of Unsecured Creditors (the “Committee”) of the above-captioned debtors

and debtors in possession (collectively, the “Debtors”) seeking entry of an order authorizing the
Committee to employ and retain Capstone as financial advisor to the Committee, nunc pro tunc
to January 26, 2009 under sections 328(a) and 1103(a) title 11 of the United States Code, 11

U.S.C. §§ 101 et sea. (as amended and supplemented, the “Bankruptcy Code”) and Bankruptcy

Rules 2014 and 2016 and Local Bankruptcy Rule 2014-1.

3. Capstone is well-suited to act as financial advisors to the Committee in these
Chapter 11 Cases. Capstone has acted as financial advisors, crisis managers and corporate
officers in middle market to multinational restructurings across a wide array of industries.
Capstone has experience in restructuring, solvency and valuation matters and has provided
analyses of all alternatives available, and provided a focus on viable solutions that maximize
value for restructuring companies and creditors. Capstone’s services include forensic analysis,
plan development, implementation and advice on sale/merger transactions. Moreover, Capstone
professionals have assisted and advised debtors, creditors, creditors’ committees, bondholders,
investors and others in numerous bankruptcy cases, including Tropicana Entertainment, LLC,
Spiegel Inc., W.R. Grace, Kmart Corp., Mirant Energy, Adelphia, Owens-Corning, Polaroid,

Sunbeam, U.S. Office Products, Collins & Aikman, Federal-Mogul, U.S. Industries and Calpine.

2 Certain of the disclosures set forth herein relate to matters within the knowledge of other professionals at
Capstone and are based on information provided by them.
3 Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the

Application.
Case 09-10138-MFW Doc 290-3 Filed 02/13/09 Page 4 of 42

4, On January 26, 2009, the Committee formally engaged Capstone to perform
financial and restructuring consulting services in connection with the Chapter 11 Cases. Since
its retention by the Committee, Capstone has become familiar with the Debtors’ businesses and
financial affairs and is therefore particularly qualified to serve as the Committee’s financial
advisor in the Chapter 11 Cases. Capstone has agreed to provide financial advisory services to
the Committee pursuant to the engagement letter between the Committee and Capstone dated as
of January 26, 2009 (the “Engagement Letter”), a copy of which attached as Exhibit A to the
Application. The services that Capstone will render to the Committee in these Chapter 11 Cases

shall include the following:

(i) advise and assist the Committee in its analysis and monitoring of the Debtors’
historical, current and projected financial affairs, including without limitation,
schedules of assets and liabilities, statement of financial affairs, periodic operating
reports, analyses of cash receipts and disbursements, analyses of cash flow
forecasts, analyses of intercompany transactions, analyses of trust accounting,
analyses of various asset and liability accounts, analyses of cost-reduction
programs, analyses of any unusual or significant transactions between the Debtors
and any other entities, and analyses of proposed restructuring transactions;

(ii) analyze the Debtors’ Operative Business Plan, including forecasted operating
statements, balance sheets, cash flows and the related underlying assumptions and
support thereto;

(ii) develop a monthly monitoring report to enable the Committee to effectively
evaluate the Debtors’ performance on an ongoing basis;

(iv) monitor and analyze the Debtors’ cash position, liquidity, intercompany charges,
and financial results versus forecast and budget;

(v) assist and advise the Committee and counsel in reviewing and evaluating any
court motions, applications or other forms of relief filed or to be filed by the
Debtors, Canadian Debtors or any other parties-in-interest,

(vi) analyze any intercompany charge financing arrangements,

(vii) monitor Debtors’ claims management process, analyze claims, analyze
guarantees, and summarize claims by entity;
Case 09-10138-MFW Doc 290-3 Filed 02/13/09 Page 5 of 42

(viii) analyze the impact of the bankruptcy filing on strategic alliances and long-term
supply agreements;

(ix) analyze any proposed critical vendor arrangements, current status of trade support
and monitor any subsequent changes in amounts and terms of credit extension;

(x) advise and assist the Committee in identifying and/or reviewing preference

payments, fraudulent conveyances and other causes of action that the Debtors’
estates may hold against third parties;

(xi) analyze the Debtors’ assets and analyze possible recovery to the various creditor
constituencies under various scenarios;

(xit) analyze alternative reorganization scenarios,

(xiii) —_ assist and advise the Committee in evaluating and analyzing restructuring
proposals of the Debtors and assist counsel and the Committee in developing
negotiation sttategies to support the Committee’s position;

(xiv) advise and assist the Committee in its assessmenit of proposed bonus, incentive
and retention plans;

(xv) advise and assist the Committee in reviewing any proposed sales or acquisitions
of assets or business units as to the impact on remaining business units;

(xvi) advise and assist the Committee in its review of intercompany transactions
between the Debtors’ and non-debtor subsidiaries and affiliates;

(xvii) _ render expert testimony as requested from time to time by the Committee and
counsel, regarding the feasibility of a plan of reorganization and other matters;
(xviii) attend Committee meetings and court hearings as may be required in the role of
advisors to the Committee; and

(xix) provide other services that are consistent with the Committee’s role and duties as
may be requested from time to time.

5. The terms and conditions of the Engagement Letter were negotiated between the

Committee and Capstone, and reflect the parties’ mutual agreement as to the substantial efforts

that will be required in this engagement.

6. As is customary in similar engagements, Capstone will be entitled to receive, as

compensation for its services, fees based on the following hourly rates:
Case 09-10138-MFW Doc 290-3 Filed 02/13/09 Page 6 of 42

Executive Directors $550 - $795

Staff $250 - $625
Support Staff $110 - $170
7. It is Capstone’s policy to charge its clients for all disbursements and expenses

incurred in the rendition of services. These disbursements and expenses include, among other
"things, costs for travel, report preparation, delivery services and other necessary costs incurred in
connection with providing services to the Committee.

8. Capstone intends to apply to the Court for payment of compensation and
reimbursement of expenses in accordance with applicable provisions of the Bankruptcy Code,
ithe Bankruptcy Rules, the Local Bankruptcy Rules (including any order adopting any guidelines
promulgated by the Office of the United States Trustee), the Engagement Letter and any
additional procedures that may be established by the Court in the Chapter 11 Cases.

9. Capstone is a “disinterested person” as that term is defined in section 101(14) of
the Bankruptcy Code because Capstone, its members and employees:

(a) are not creditors, equity security holders or insiders of the
Debtors;

(b) are not and were not, within 2 years before the Petition
Date, directors, officers, or employees of the Debtors; and

(c) do not have an interest materially adverse to the interest of
the Debtors’ estates or of any class of creditors or equity
security holders, by reason of any direct or indirect

relationship to, connection with, or interest in the Debtors
or for any other reason.

10. Moreover, to the best of my knowledge, information and belief formed after
reasonable inquiry, Capstone, its members and employees have no interests that are materially
adverse to the Debtors’ estates or the creditors in these Chapter 11] Cases.

11. To determine Capstone’s relationship with the parties-in-interest identified by the

Committee to Capstone, in preparing this Affidavit, I caused the names of the parties set forth in

5
Case 09-10138-MFW Doc 290-3 Filed 02/13/09 Page 7 of 42

Exhibit B-1, which is attached hereto, to be submitted to Capstone’s internal conflicts
procedures. To the best of my knowledge, information and belief, neither I nor any other
member or employee of Capstone has any connection with or holds any interest adverse to the
Debtors, their estates, creditors, shareholders, or any other party in interest herein or their
respective attorneys in the matters for which Capstone is proposed to be retained, except that
Capstone has provided other consulting services, and may in the future provide such services, to
certain of the Debtors’ creditors or other parties-in-interest unrelated to the Debtors’ Chapter 11
Cases. As set forth in Exhibit B-2, which is attached hereto, Capstone has certain relationships
with certain parties-in-interest in these Chapter 1] Cases, but such relationships are unrelated to
either the Debtors or their Chapter 11 Cases.

12, None of the engagements set forth in Exhibit B-2 are related to the Chapter 11
Cases. Certain of Capstone’s engagements are for syndicated lending groups and a number of
the financial institutions listed on Exhibit B-2 are either agents or participating lenders in such
groups. It is typical in such engagements for Capstone’s bills to be rendered to the related
borrower, not to Capstone’s clients. As such, Capstone maintains it’s billing records on an
“engagement” basis. Accordingly, the precise amount of fees that may be indirectly ascribed or
applicable to each of these institutions is not readily or accurately discernable. This is due to,
among other reasons, regular commonly active trading of debt. Capstone has been directly
involved in or served in matters with parties listed in Exhibit B-2, In addition, Capstone’s
members and employees may have business associations with certain of the Debtors’ creditors or
other parties-in-interest herein, or interests adverse to such creditors, shareholders or parties-in-

interest, which associations are unrelated to these Chapter 11 Cases.
Case 09-10138-MFW Doc 290-3 Filed 02/13/09 Page 8 of 42

13. To the extent I discover any additional facts bearing on the matters described
herein during the period of the Committee’s retention of Capstone, 1 will supplement the
information contained in this Affidavit.

14. To the best of my knowledge, Capstone has not been retained to assist any entity
or person other than the Committee on matters relating to, or in connection with, these Chapter
11 Cases. If this Court approves the proposed employment of Capstone by the Committee, then
Capstone will not accept any engagement or perform any service in these cases for any entity or
person other than the Committee. Capstone may, however, continue to provide professional
services to, and engage in commercial or professional relationships with, entities or persons that

may be creditors of the Debtors in these Chapter 11 Cases; provided, however, that such services

do not and will not relate to, or have any direct connection with, these Chapter 11 Cases.

15. Iam not related or connected to and, to the best of my knowledge, no other
member or employee of Capstone is related or connected to any United States Bankruptcy J udge
or District Judge for the District of Delaware or the United States Trustee for the District of
Delaware or to any employee in the offices thereof.

16. No promises have been received by Capstone nor any member or employee
thereof as to payment or compensation in connection with these cases other than in accordance
with the provisions of the Bankruptcy Code. Neither Capstone nor any of its members and
employees has entered into an agreement or understanding to share compensation as described in
Bankruptcy Rule 2016.

17. The Committee requires knowledgeable consultants to provide essential
professional services in these Chapter 11 Cases. The Committee has selected Capstone as its

financial advisor because of the fitm’s diverse experience and extensive knowledge in the field
Case 09-10138-MFW Doc 290-3 Filed 02/13/09 Page 9 of 42

of bankruptcy. As a result, Capstone is well qualified to perform these services in an efficient
manner and represent the Committee’s interests in these Chapter 11 Cases,

18. The Committee believes that Capstone’s employment is in the best interests of the
Debtors and thei estates and creditors. Because of Capstone’s extensive experience in business
reorganizations and mergers and acquisitions as well as its familiarity with the Debtors’ business
operations, the Committee believes that Capstone is exceptionally well qualified to serve as its
financial advisors in these Chapter 11 cases.

19. The foregoing constitutes the statement of Capstone pursuant to sections 504 and
1103 of the Bankruptey Code, Bankruptcy Rules 2014(a), 2016{b) and 5002, and Local

Bankruptcy Rule 2014-1.

\) Jay I. Borow

Sworn to before me this
| 2th day of February, 2009

Case 09-10138-MFW Doc 290-3 Filed 02/13/09 Page 10 of 42

Exhibit B-1I

Parties in Interest Submitted to Capstone’s Internal Conflicts Procedures

Debtors’ Affiliates (as such term is defined in 11 U.S.C, § 101(2))
Nortel Networks Corporation .
Nortel Networks Optical Companies (Switzerland) GmbH
Sonoma Ltd.

Sonoma Systems Europe Ltd.

Architel Systems Corporation

Architel Systems (UK) Ltd.

Alteon WebSystems AB

Alteon WebSystems International Ltd.

Nortel Networks Ltd.

Nortel Networks UK Ltd.

Nor. Web DLP Ltd.

Nortel Ltd. .

Nortel Networks (Northern Ireland) Ltd.

Nortel Networks Employee Benefit Trustee Company Ltd.
Nortel Networks Properties Ltd.

Nortel SE d.o.o. Beograd

Northern Telecom PCN Ltd,

Promatory Communications (UK) Ltd.

Telephone Switching International Ltd.

X~CEL Communications Ltd.

Star 21 Networks GmbH

Nortel Networks Australia Pty Ltd.

Periphonics Ltd.

Nortel Networks (Photonics) Pty. Ltd.

Frisken Investments Pty. Ltd.

R. Betts Investments Pty, Ltd.

Nortel Australia Communication Systems Pty. Ltd.
Nortel Networks International Finance & Holding BV
Nortel Networks Singapore Pte. Ltd.

Nortel Networks (Austria) GmbH

Nortel Networks AG

Nortel Networks AS

Nortel Networks S.R.O.

Nortel Networks S$.p.A.

Nortel Networks S.A. (Lux Entity)

Nortel Networks South Africa (Proprietary) Ltd.
Uni-Nortel Communication Technologies (Hellas), S.A.
Nortel Networks NV

Matra Communication Cellular Terminals GmbH
Nortel Networks Engineering Service Kft.

Case 09-10138-MFW Doc 290-3 Filed 02/13/09

Nortel Networks (Bulgaria) EOOD

Nortel Networks Slovensko, s.r.0.

Nortel Networks Romania Srl

Nortel Networks 0.0.0.

Nortel Networks Portugal S.A.

Nortel Communication Holdings (1997) Ltd.
Nortel Networks Polska Sp. z.0.0.

Nortel GmbH

Nortel Networks BV

Nortel Ukraine Ltd,

Nortel Networks AB

Nortel Networks Hispania S.A.

Nortel Networks Netas Telekomunikasyo n.A.S.
Norte] Networks Israel (Sales and Marketing Ltd.)
Nortel Networks Communications (Israel) Ltd.
Nortel Networks Malta Ltd.

Nortel Networks OY

Bay Networks do Brasil Ltda.

Bay Networks Redes de Dados para Sistemas Informaticos Lda.
Clarify Ltd.

Clarify KK.

Nortel Networks Eastern Mediterranean Lid,
Nortel Ventures LLC

Nortel Networks Japan

Penril Datacomm Ltd.

Nortel Networks Southeast Asia Pte Ltd.

Nortel Networks Technology (Thailand) Ltd.
Nortel Technology Excellence Centre Private Ltd.
Diamondware Ltd.

Northern Telecom International Inc.

Nortel Networks Optical Components Inc.

The Nortel Foundation

Nortel Networks India International Inc

North Networks (CALA) Inc.

Qtera Corporation

Nortel Networks. Technology Ltd.

Nortel Networks HPOCS Ine.

Nortel Government Solutions Inc.

Nortel Networks de Guatemala Ltda.

Nortel Trinidad and Tobago Ltd.

Nortel Networks (Shannon) Ltd.

Nortel Networks Europe Sales Ltd.

AC Technologies Inc.

Integrated Information Technology Corporation
Capital Telecommunications Funding Corporation
PT Nortel Networks Indonesia

Page 11 of 42
Case 09-10138-MFW Doc 290-3 Filed 02/13/09 Page 12 of 42

Nortel Networks Peru S.A.C.

Nortel Networks (Thailand) Ltd.

Nortel Networks Telecomunicaco es do Brazil Bhd.
Nortel Networks Malaysia Sdn. Bhd.

Nortel Networks New Zealand Ltd.

Nortel Networks Global Corporation

Nortel Networks de Colombia S.A.

Norte! Networks Chile 8.A.

Norte] Networks de Argentina 8.A,

Nortel Networks del Paraguay S.A.

Nortel Networks de Venezuela C.A.

Nortel Networks de Ecuador S.A.

Nortel Networks de Mexico 8.A. de C.V.

Nortel de Mexico S. De RL de CV

Nortel Networks del Uruguay S.A,

Nortel Networks Technology Corporation

Nortel Vietnam Ltd,

Nortel Networks Korea Ltd.

Nortel Networks Singapore Pte Ltd.

Nortel Networks Telecommunications Equipment (Shanghai) Co. Ltd.
Nortel Networks International Corporation
Shenyang Norte! Telecommunications Company Ltd.
Nortel Networks (Ireland) Ltd.

Northern Telecom Maroc SA

Nortel Networks Electronics Corporation

Regional Telecommunications Funding Corporation
Nortel Networks de Bolivia S.A.

Ontario Inc.

CTFC Canada Inc.

Northern Telecom Canada Ltd.

Nortel Networks de Panama S.A.

TSFC Canada inc.

Nortel Networks Mauritius Ltd.

Nortel Networks SA (French Entity)

Nortel Networks (China) Ltd.

Nortel Networks (Asia) Ltd.

Guangdong ~ Nortel Telecommunications Equipment Co., Ltd.
LG-Nortel Co. Ltd.

Nortel Communications Inc.

Nortel Networks (India) Private Ltd.

Northern Telecom France SA

Nortel Networks Communications Engineering Ltd.
Novera Optics Korea Inc.

Novera Optics Inc.

LN Srithai Comm Co Ltd. —
Nortel Networks Financial Services Ltd. Liability Co.
Case 09-10138-MFW Doc 290-3 Filed 02/13/09 Page 13 of 42

Nortel Networks France SAS

Matra Communications Business Systeme GmbH
Northern Telecom International Ltd.

Star 21 Facility Management GmbH & Co. KG
Star 21 Facility Management Verwaltung GmbH
Star 21 Networks Deutschland GmbH

Star 21 Networks (Schweitz) AG

Star 21 Operations GmbH

Debtors’ 5% Shareholders
NNI is a Delaware corporation, wholly owned by NNL; therefore, there are no 5% shareholders

for conflict check purposes.

NNCC is a Delaware corporation, wholly owned by NNI; therefore, there are no 5%
shareholders for conflict check purposes.

Alteon WebSystems Inc. is a Delaware corporation, wholly owned by NNC; therefore, there are
no 5% shareholders for conflicts purposes.

Alteon WebSystems International Inc. is a Delaware corporation, wholly owned by Alteon
WebSystems Inc.; therefore, there are no 5% shareholders for conflicts purposes.

Architel Systems (U.S.) Corporation is a Delaware corporation, wholly owned by Architel
Systems Corporation; therefore, there are no 5% shareholders for conflicts purposes.

Xros, Inc. is a Delaware corporation, wholly owned by NNC; therefore, there are no 5%
shareholders for conflicts purposes.

Sonoma Systems is a California corporation, wholly owned by NNC; therefore, there are no 5%
shareholders for conflicts purposes.

Qtera Corporation is a Delaware corporation, wholly owned by NNI; therefore, there are no 5%
shareholders for conflicts purposes.

CoreTek, Inc. is a Delaware corporation, wholly owned by NNC; therefore, there are no 5%
shareholders for conflicts purposes.

Nortel Networks Applications Management Solutions, Inc. is a Delaware corporation, jointly
owned by NNC and NNI; therefore, there are no 5% shareholders for conflicts purposes.

Nortel Networks Optical Components Inc. is a Delaware corporation, jointly owned by NNI and
NNL,; therefore, there are no 5% shareholders for conflicts purposes.

Nortel Networks HPOCS Inc. is a Delaware corporation, wholly owned by Nortel Networks
Optical Components Inc.; therefore, there are no 5% shareholders for conflicts parposes.
Case 09-10138-MFW Doc 290-3 Filed 02/13/09 Page 14 of 42

Nortel Networks International Inc. is a Delawate corporation, wholly owned by NNI; therefore,
there are no 5% shareholders for conflicts purposes.

Northern Telecom International Inc. is a Delaware Corporation, wholly owned by NNI;
therefore, there are no 5% shareholders for conflicts purposes.

Nortel Networks Cable Solutions is a Delaware corporation, wholly owned by NNI; therefore,
there are no 5% shareholders for conflicts purposes.

Debtors’ Significant Equity Investors

Because the Debtors are wholly or jointly owned by affiliates, as detailed above, there are no
significant equity investors for conflict check purposes.

Current Directors and Officers of the Debtors and for two years prior to the Petition Date

Current Directors and Officers of NNI
Karen E. Sledge
Eugene R. McClain
John Doolittle
Jeffrey T. Wood
William R. Ellis
Gordon A. Davies
Joseph F. Dearing
Lynn C, Egan

Paul T. Knudsen
Claudio Morfe Jr.
Charles R. Raphun
Paul W. Karr
Dennis Carey

Former Directors and Officers of NNI for the Two Years Prior to the Petition Date
Clare A. Barbieri

Laurie A. Krebs

Allan K. Stout

Mark J. Hamilton

Kimberly P. Poe

Thomas A, Gigliotti

Emest R. Higginbotham

Katharine B. Stevenson

Current Directors and Officers of NNCC
Paul W. Karr

John Doolittle

Jeffrey T. Wood

Case 09-10138-MFW Doc 290-3 Filed 02/13/09 Page 15 of 42

William R. Ellis
Lynn C. Egan
Gordon A. Davies
Dennis Carey

Former Directors and Officers of NNCC for the Two Years Prior to the Petition Date
Katharine B, Stevenson

Clare A. Barbieri

Laurie A. Krebs

Mark J. Hamilton

Kimberly P. Poe

Robert J. Looney

Current Directors and Officers of Alteon WebSystems, Inc.
Gordon A. Davies

Dennis Carey

William R. Ellis

Jeffrey T. Wood

Lynn C. Egan

John Doolittle

Former Directors and Officers of Alteon WebSystems, Inc. for the Two Years Prior to the
Petition Date
Kimberly P. Poe
Mark J. Hamilton
Laurie A. Krebs
Clare A. Barbieri
Robert J. Looney
A. Aziz Khadbai
Kimberly P. Poe
Mark J. Hamilton
William R. Eflis

Current Directors and Officers of Alteon WebSystems International, Inc.

Gordon A. Davies
Dennis Carey
Jeffrey T. Wood
Lynn C. Egan
John Doolittle

Former Directors and Officers of Alteon WebSystems International, Inc. for the Two Years
Prior to the Petition Date

Laurie A. Krebs

Clare A. Barbieri

Robert J. Looney

A. Aziz Khadbai

Case 09-10138-MFW Doc 290-3 Filed 02/13/09 Page 16 of 42

Kimberly P. Poe
Mark J. Hamilton
William R. Ellis

Current Directors and Officers of Architel Systems (U.S.) Corporation
Gordon A. Davies

Dennis Carey

Jeffrey T. Wood

Lynn C. Egan

John Doolittle -

Former Directors and Officers of Architel Systems (U.S.) Corporation for the Two Years
Prior to the Petition Date

Kimberly P, Poe

Laurie A. Krebs

Clare A. Barbieri

Robert J. Looney

Karen E. Sledge

Kimberly P. Poe

Mark J. Hamilton

William R. Ellis

Current Directors and Officers of Xros, Inc..
Gordon A, Davies

Dennis Carey

William R. Ellis

Jeffrey T. Wood

Lynn C. Egan

John Doolittle

Former Directors and Officers of Xros, Inc. for the Two Years Prior to the Petition Date
Kimberly P. Poe

Mark J. Hamilton

Laurie A. Krebs

Clare A. Barbieri

Robert J. Looney

Karen E. Sledge

William R. Ellis

Current Directors and Officers of Sonoma Systems
Gordon A. Davies

Dennis Carey

William R. Ellis

Jeffrey T. Wood

Lynn C, Egan

John Doolittle

Case 09-10138-MFW Doc 290-3 Filed 02/13/09 Page 17 of 42

Former Directors and Officers of Sonoma Systems for the Two Year's Prior to the Petition

Date
Kimberly P. Poe

Mark J, Hamilton
Laurie A, Krebs

Clare A. Barbieri
Robert J. Looney
Williams R. Ellis
Scott A. McFeely

Current Directors and Officers of Otera Corporation
Gordon A. Davies

Dennis Carey

William R. Ellis

Jeffrey T. Wood

Lynn C, Egan

John Doolittle

Former Directors and Officers of Qtera Corporation for the Two Years Prior to the
Petition Date

Kimberly P. Poe

Mark J. Hamilton

Laurie A. Krebs

Clare A. Barbieri

Robert J. Looney

Karen E, Sledge

William R. Ellis

Current Officers and Directors of CoreT ek, Inc.
Gordon A. Davies

John Doolittle

Jeffrey T. Wood

Lynn C. Egan

Former Directors and Officers of Corel ck, Inc. for the Two Years Prior to the Petition
Date

Laurie A. Krebs

Clare A. Barbieri

Robert J. Looney

Michael W. McCorckle

Current Directors and Officers of Nortel Networks Applications Management Solutions

Inc.
Gordon A. Davies
Dennis Carey

Case 09-10138-MFW Doc 290-3 Filed 02/13/09 Page 18 of 42

William Roy Ellis
Jeffrey T. Wood
Lynn C, Egan
John Doolittle

Former Directors and Officers of Nortel Networks Applications Management Solutions
Inc. for the Two Years Prior to the Petition Date

Kimberly P. Poe

Mark J. Hamilton

Laurie A. Krebs

Clare A. Barbieri

Robert J. Looney

Karen E, Sledge

William R. Ellis

Current Directors and Officers of Nortel Networks Optical Components Inc.
Gordon A. Davies

Dennis Carey

William R. Ellis

Jeffrey T. Wood

Lynn C. Egan

John Doolittle

Former Directors and Officers of Nortel Networks Optical Components Inc. for the Two
Years Prior to the Petition Date

Kimberly P. Poe

Mark J. Hamilton

Laurie A. Krebs

Clare A. Barbieri

Robert J. Looney

Karen E. Sledge

William R. Elis

Current Directors and Officers of Nortel Networks HPOCS Inc.
Gordon A. Davies

Dennis Carey

William R. Ellis

Jeffrey T. Wood

Lynn C, Egan

John Doolittle

Former Directors and Officers of Nortel Networks HPOCS Inc. for the Two Years Prior to
the Petition Date

Kimberly P. Poe

Mark J. Hamilton

Laurie A. Krebs

Case 09-10138-MFW Doc 290-3 Filed 02/13/09 Page 19 of 42

Clare A. Barbieri
Robert J. Looney
Karen E. Sledge
William R, Ellis

Current Directors and Officers of Nortel Networks International Inc.
Gordon A. Davies

Dennis Carey

William R. Ellis

Jeffrey T. Wood

Lynn C, Egan

John Doolittle

Former Directors and Officers of Nortel Networks International Inc. for the Two Years
Prior to the Petition Date

Kimberly P, Poe

Mark J. Hamilton

Laurie A. Krebs

Clare A. Barbieri

Robert J. Looney

Jeffrey T. Wood

William R. Ellis

Current Directors and Officers of Northern Telecom International Inc.
Gordon A. Davies

Dennis Carey

William R. Ellis

Jeffrey T. Wood

Lynn C. Egan

John Doolittle

Former Directors and Officers of Northern Telecom International Inc, for the Two Years
Prior to the Petition Date

Kimberly P. Poe

Mark J. Hamilton

Laurie A, Krebs

Clare A. Barbieri

Robert J. Looney

Karen E. Sledge

William R. Ellis

Current Directors and Officers of Nortel Networks Cable Solutions, Inc.
Gordon A. Davies

Dennis Carey

John Doolittle

Alan P. Wendell

10
Case 09-10138-MFW Doc 290-3 Filed 02/13/09 Page 20 of 42

John R. McCready
Cortland Wolfe
Jeffrey T. Wood
Lynn C, Egan
Jean-Pierre Fortin
Raj Krishnan

Paul T. Knudsen
John D. Atkinson
Francois Audet
Graeme Currie
William Gentry
Brian Lindsay
Parviz Rashidi
Richard C. Taylor
Ricky Kaura

Peter Krautle
Christian Kittlitz
Robert Litalien
Eric L. Smith

Guy Vonderneidt
Robin Scott Hughes
Guy Lafontaine
James Ostrom
Robert Saunders
Ian Scales

April A. Pennisi
Glenn Brownridge
Sudarshan Chitale
Tim Gaiser
Duncan Gillibrand
Camille Issa

Joel Joseph, Jr.
Mark Kepke
Steve J. McKinnon
Pete Streng

Greg Thor
Francois Burton
Wade Lyon

Alain Papineau
Denis R, X, Thibault
Paul Granville
Louis LeVay
Guillaume Strub
Norman Caron
Emre Erkol

Oya Istemi

11
Case 09-10138-MFW Doc 290-3

Steven Woods
Mary Barnes
Christopher Hogg
James McEachern
Ron Ryan.

lain Sharp

Craig Telke
Jeremy Fuller
Michael Gawargy
Andrew Harrison
Anthony Jones
Michael Leeder

Filed 02/13/09 Page 21 of 42

Former Directors and Officers of Nortel Networks Cable Solutions, Inc.

Russell Coffin
Tom Buttermore
Laurie A. Krebs
J. Erik Fako
Gregory Hood
Roger W. Britt
Matteo Candaten
Keith Landau
Lee B. Valerius
Serge Caron
Stephan Radatus
Shelley Bracken
Elaine Smiles
Anthony G. MacDonald
Mario Brown
Dharmaraja Rajan
Henry Holland
Swapan Nandi
Biil Thompson
Donna Samper
Dennis Lloyd
Mehdi Sajasi
Wei Jen Yeh
Ken Huntington
Gregor W. Larson
Robert C, Pugh
Richard Willis
Kevin Boyle I
Tom P. Taylor
Sonia Garapaty
David Price
Dany Sylvain

12
Case 09-10138-MFW Doc 290-3

Cortland Wolfe
Alan P. Wendell

Ad Hoc Bondholder Committee
Loomis Sayles & Company
Fidelity Investments

MacKay Shields LLC

Franklin Templeton Mutual Funds
Taconic Capital Advisors LP
Sankaty Advisors, LLC

Debtors’ Vendors

Wistron

JDS Uniphase Corporation
Bookham Technology Ltd.
IBM

Delta Networks Systems SA DE CV
Texas Instruments Inc.
Motorola Corporation

Applied Micro Circuits Corporation
Artesyn Technologies
Audiocodes Ltd.

Sanmina SCI Corporation
Astec

Amphenol

Andrew Corporation
Qualcomm Inc.

Ailinx Inc.

Freescale Semiconductor
Trapeze Networks Inc.

Santur Corporation

Altera

STMicroelectronics

Broadcom Corporation
Hewlett Packard

Spectra Link

Alanex Corporation

Alpha Networks

Excelight Communications Inc.
Daeduck Electronics Company
Micron

Sun Microsystems

Airvana

Witness Systems Inc.

Scansoft

Minerva Systems Inc.

13

Filed 02/13/09

Page 22 of 42
Case 09-10138-MFW Doc 290-3

Microsoft

Itel House

Oracle Corporation

Wind River Systems Inc.
Wipro

TCS Consulting

Sasken

Tejas

Infosys

Bell Micro

ITC

Airspan

Mera

Polycom

Flextronics

CTDI

Advanced Information Management
Kuehne & Nagel International AG
Anixter International
Accton Technolgies
Emerson

Polytronix

Brookfield Lepage Johnson
Johnson Controls Inc.
Cigna

Debtors’ Litigants

California State Board of Equalization
Highpoint Telecommunications Inc.
Motorola

Patricia Harmon

Teligent Services Inc.

Verizon New York, Inc.

Robert Buchwald

Alexander Lovgren

Sharon Tangney

A.W. Chesterton, Inc.

Federal Insurance Company (Chubb)
Aldine Independent School District
Joseph Srygler

Ernest Demel

Steven Domenikos

Carrasco

Mack Thorpe, Jr.

Pavel Molodetskiy

14

Filed 02/13/09 Page 23 of 42
Case 09-10138-MFW Doc 290-3 Filed 02/13/09

Pamela Richardson

Harris Corporation

Scott M. Johnson

Terrence Freeman

Lisa Fitzgerald

Wanland and Associates

Jay Colton

Jim and Elaine Wright

Certain Tunable Laser Chips

Nortel Networks Corp. “ERISA” Litigation Plaintiffs

Debtors’ Lenders
Export Development Canada

Debtors’ Banks and Money Market Funds
Citibank

Bank of America

Deutsche Bank

JP Morgan

Morgan Stanley

UBS

Federated Treasury Obligations

JP Morgan U.S. Money Markey Funds
Fidelity Treasury Portfolio Fund

Dreyfus Government Cash Management Fund
Government Prime Cash Management Fund
Reserve Primary Fund

Debtors’ Significant Customers
Verizon

Korea Telecom — Freetel
AT&T

BCE

Telefonica

LGT

Datatec Networking and Com.
Sprint Nextel

Direct Touch Federal

SK. Telecom

Telus

France Telecom/Orange
Alitel (ACT)

Hanoi Telecom

British Telecom

15

Page 24 of 42
Case 09-10138-MFW Doc 290-3 Filed 02/13/09

US Cellular
Deutsche Telecom
Tech Data Corp.
AMX

Motorola

BSNL

China Mobility

Debtors’ Landlords

Hewlett Packard Financial Services
Meadow Brook Office LLC

New Boston 175 Capital Boulevard LP
Bonham Golf & Country Club, Inc.
City of Bonham

Woodfield Holdings Pt., LLC
Tomorrow 35 Century L.P.

Riverdale Office Properties Partnership
[Star Ctl 1, L.P./Lehman Ali Inc.
Ciminelli Development Co, Inc.

Gail G. Anderson dba Willard T. Anderson Properties
Campbell Creek Ltd.

10 Sylvan SPE LLC

Sunset Land Company LLC

State Street Bank & Trust Co.

USAA Real Estate Company
Metropolitan Tulsa Investments LLC
Brookfield Lakes Corporate Center
Insignia ESG, Inc.

TCIT Dallas Industrial, Inc.

West Colony Office Associates, LP
Teachers Insurance & Annuity Corp.
Genesis Building LLC

Duke Realty Ohio

Technology Park X LTD Partnership
Flagler Development Company

7884 BR LLC

Behringer Harvard TIC

Coliseum Transfer Inc.

The Plaza CP, LLC

Omega Corporate Center, LP

Omaha Plaza Investments c/o CBRE The Mega Group
The Irvine Company and ACE Parking Management
Metropark South LLC

RP Sam Houston Plaza, L.P.

1 & G Direct Real Estate 16, LP

16

Page 25 of 42
Case 09-10138-MFW Doc 290-3 Filed 02/13/09

Deka Immobilien Investment GMBH
One Boston Place, LLC

Crescent Peakview Tower LLC
Biltmore Financial Center Il
Wireless (TX) LP QRS 14
UCM/SREP-Corporate Woods, LLC
Sobrato Land Holdings

Reckson Operating Partnership

IPC Metrocenter LLC

Technology Center Associates LP
Talcott HI Ormsby LLC

Talcott T Alamo LP

101 Constitution Trust

HQ Global Workplaces Inc.

Colliers Dickson Flake Partners Inc.
Open Terrace Associates LLC
California State Teachers Retierment
Duesenberg Investment Company
Tallahassee Corporate Center LLC
Two Towne Square LLC

Duke Realty Ohio

One Capital Mall Investors LP
Gateway Associates Ltd.

Hines Riverfront Plaza, LP

Canal View Properties TH, LLC
Green 485 Owner LLC

13560 Morris Road Office Investors, LLC
Tower 333 LLC

IGD Properties Corp.

Technology Park V LP

Debtors’ Insurers

ACE USA

ACE INA Insurance

ACE Bermuda Insurance Ltd.

American Home Assurance Company

AIG Commercial Insurance Company of Canada
Allianz Global Risks US Insurance Company
Arch Insurance Company
Arrowhead General Insurance Agency
Allied World Assurance Company Ltd

Chubb Insurance Company of Canada
Continental Casualty Company
American Home Assurance Company (National Union)
Empire Indemnity

17

Page 26 of 42
Case 09-10138-MFW Doc 290-3 Filed 02/13/09 Page 27 of 42

Falvey Cargo Underwriting

GCAN Insurance Company

Great American Insurance Group
Hartford Fire Insurance Company
Liberty International Underwriters Canada
Beazley Syndicate

Hiscox Syndicate

Catlin Canada Inc.

Temple Insurance Company

Max Bermuda Ltd.

Princeton E&S

QBE Specialty

Travelers Guarantee Company of Canada
XL Insurance (Bermuda) Ltd

XL Insurance Company Ltd.

Zurich Insurance Company

Counterparties to Debtors’ Significant Contracts
The counterparties to the Debtors significant contracts are the Debtors’ significant customers and

vendors, as listed above.

Debtors’ Bondholders and Trustees

Bank of New York

Ameriprise Financial Services, Inc.

Amalgated Bank

Bane of America Securities, LLC; NationsBank of Texas, NA; Banc of America
The Bank of New York Mellon

Barclay's Capital, Inc./Fixed Income Bond-C

Barclay's Capital, Inc., LE

BMO Nesbitt Burns, Inc/CDS

BNY-SBL/PB

BNP of Paribas Prime Brokerage, Inc

BNP Paribas Securities Corp/Fixed Income

BNP/PPBC

Bank of New York/LDSEG

Bank of New York/London

Bank of New York/Prudential

Bank of New York/TD BK

Mellon Trust of New England, NA

Bank of America/La Salle

Bank of New York/Barclays

Sanford C. Bernstein & Co., LLC

Brown Brothers Harriman & Co.

Carolina Capital Markets, Inc; Clearview Correspondent Services, LLC; H.G. Wellington & Co,
Inc; Scott & Stringfellow, Inc; Hawthome Securities, Corp; McMillion Securities, Inc

18
Case 09-10138-MFW Doc 290-3 Filed 02/13/09 Page 28 of 42

Cede & Co.!

Citigroup Global Markets, Inc./Salomon Brothers
Charles Schwab & Co., Inc.

CIBC World Markets, Inc

Citadel Derivatives Group, LLC or Citidel Trading Group, LLC
Citibank, NA

Citigroup Private Bank & Trust

Citigroup Global Markets, Inc. or Citigroup Financial Services Corp.
Comerica Bank

Credit Suisse Securities (USA)

Davidson (D.A.) & Co., Inc.

Deutsche Bank Securities, Inc.

Dresdner Kleinwort Securities LLC

E*Trade Capital Markets, LLC; E*Trade Cleary, LLC
Emmett Larkin Co., Inc.

Fiducie Desjardins, Inc.

First Clearing, LLC

First Southwest Company

Goldman Sachs & Co.

Goldman Sachs Execution & Clearing, LP
Goldman Sachs International Ltd.

Haywood Securities, Inc.

H&R Block

Huntington National Bank

Ingalls & Snyder, LLC

Interactive Brokers, LLC/Retail Clearance
Jefferies & Co., Inc.

Janney Montgomery Scott, LLC

Jones (Edward D.) & Co.

JP Morgan Securities, Inc.

JPM/CCS2

JPM/GS CAP

JP Morgan Clearing Corp.

JP Morgan International

JP Morgan Chase Bank, National Association
JP Morgan Securities Inc./Fixed Income
Keybank National Association

Laurential Bank of Canada

Lehman Brothers, inc.

LPL Financial Corporation

Marshall & Ilsey Bank

Merrill Lynch Pierce Fenner & Smith Inc.
Manufacturers & Trust Company

' Securities registered in the name of Cede & Co. as nominee for the Depository Trust Company; the beneficial
holders are not known to the Debtors,

19
Case 09-10138-MFW Doc 290-3

The Bank of Tokyo-Mitsubishi UFJ, Ltd.
ML SFKPG

Morgan, Keegan & Company, Inc.
Morgan Stanley & Co. Inc,
Morgan Stanley & Co Inc./Retail
National City Bank

NBCN Inc./CDS

National Financial Services Corp.
The Northern Trust Company
Oppenheimer & Co., Inc.
Pershing, LLC

PNC Bank, NA

Raymond James & Associates, inc
Raymond James Ltd

RBC Dominion Securities Inc
RBC Capital Markets Corporation
Ridge Clearing & Outsourcing Solutions, Inc
Scotia Capital Inc

Scottrade, Inc

Southwest Securities Inc
SSB-Trust Custody

SSB&T Co.

SSBIBT/BGI

SSB-SPDR’S

SSBT/IBT

Sterne, Agee & Leach, Inc.

Stifel Nicholaus & Company
Suntrust Bank

TD Ameritrade Inc.

Sumi Trust

Suntrust Bank

TD Waterhouse Canada, Inc.
Trustmark

UBS Financial Services, Inc.
UBS Securities, LLC

UMB Bank NA

Union Bank of California

US Bank NA

Wachovia Bank, NA

Wachovia Securities, LLC
Wachovia Capital Markets, LLC
Wells Fargo Bank, National Association
Wilmington Trust Company

“The Fifth Third Bank

20

Filed 02/13/09

Page 29 of 42
Case 09-10138-MFW Doc 290-3 Filed 02/13/09 Page 30 of 42

Debtors’ Proposed Professionals
Lazard Freres & Co., LLC

Morris, Nichols, Arsht & Tunneil LLP
Cleary Gottlieb Steen & Hamilton LLP
Ogilvy Renault LLP

Epiq Bankruptcy Solutions, LLC
Shearman & Sterling LLP

Debtors’ Major Competitors
Sony Ericsson Mobile Communications A.B.
Alcatel-Lucent

Ciena Corporation

Cisco Systems, Inc.

Nokia

Tellabs, Inc.

Juniper Networks, Inc,
Siemens Enterprise

Siemens Networks

Huawei

ZTE

NEC

Foundry

Hitachi Cable

Avaya

Motorola

IBM

Hewlett Packard

Top 40 Unsecured Creditors .
The Bank of New York Mellon, as Indenture Trustee for the 10.75% Fixed Rate Senior Notes,

Due 2016

The Bank of New York Mellon, as Indenture Trustee for the Floating Rate Senior Notes, Due
2011

The Bank of New York Mellon, as Indenture Trustee for the Convertible 2.125% Fixed Rate
Senior Notes, Due 2014

The Bank of New York Mellon, as Indenture Trustee for the Convertible 1.75% Fixed Rate
Senior Notes, Due 2012

The Bank of New York Mellon, as Indenture Trustee for the 1.75% Fixed Rate Senior Notes,
Due 2013

Export Development Canada

The Bank of New York Mellon, as Indenture Trustee for the 7.875% Fixed Rate Senior Notes,
Due 2026

Flextronics

Flextronics America LLC

Flextronics International Europe BV

2]
Case 09-10138-MFW Doc 290-3 Filed 02/13/09

SEAL Consulting

Computer Science Corporation

Jabil Circuit Inc (GDL)

Beeline

Infosys Technologies Ltd.

JDS Uniphase Corporation

Tata Consultancy Services
Communications Test Design Inc.
Glow Networks

Anixter

Flextronics International

ITC Networks

Johnson Controls Inc,

Emerson Network Power Embedded
Wistron InfoComm Technology Corp.
Wipro Technologies

Flextronics Logistics USA Inc.

Wipro Systems Ltd.

Telrad Networks Ltd.

Advanced Information Management
Airspan Communications Ltd.
McCann Erickson San Francisco
TEKsystems Inc.

Covergence Inc.

GFT Inc.

Flextronics Sales & Marketing North
Coams Inc.

IBM Corporation

Nortel Networks Corp. “ERISA” Litigation
Pension Benefit Guaranty Corporation

Utilities

Atmos Energy

City of Richardson
Suez Energy Resources N.A., Inc.
TXU Energy

Con Ed

City of Durham

Duke Energy Company
PSNC Energy

National Fuel

JCP&L

City of Santa Clara
PG&E ~ California
National Grid

22

Page 31 of 42
Case 09-10138-MFW Doc 290-3

National Grid ~ Massachusetts
National Grid - Melville

Town of Billerica

LIPA

Suffolk County Water Authority
Great Oaks Water Company
SRP

City of Sunrise

FPL

AT&T

BT Americas Inc

Cablevision Lightpath, Inc
China Telecom Americas Corp
Cincinnati Bell -

Comcast

Cox Communications

Embarg

First Digital Telecom

Frontier Communications
Global Crossing Conferencing
Hydro One Telecom Inc.
Level 3 Communications LLC
Masergy Communications, Inc
McDonald County Telephone Co
MCI

MTS Allstream Inc.

PCCW Global Inc

Other Parties

Allen & Overy LLP

American Movil

Morris Nichols Arsht & Tunnell LLP
Bennett Jones LLP

Milbank, Tweed, Hadley & McCloy LLP
Goodmans LLP

Herbert Smith LLP

Ernst & Young Inc.

Filed 02/13/09

Members of the Committee and Proposed Professionals

Airvana, Inc.

Craig and Macauley, PC

The Bank of New York Mellon

Latham & Watkins LLP

Flextronics Corporation

Curtis, Mallet-Prevost, Colt & Mosle LLP
Pension Benefit Guaranty Corporation

23

Page 32 of 42
Case 09-10138-MFW Doc 290-3 Filed 02/13/09

Fraser Milner Casgrain LLP

Richards, Layton & Finger

Jefferies & Company, Inc.

Akin Gump Strauss Hauer & Feld LLP
Ashurst LLP

Parties Filing a Notice of Appearance (As of January 26, 2009)
Richardson ISD (Texas)

Dallas County, City of Richardson (Texas)
Texas Comptroller of Public Accounts
Margolis Edelstein

Iron Mountain Information Management, Inc.
Telmar Network Technology, Inc.
Precision Communication Services, Inc.
UBS Realty Investors LLC

Technology Park X Limited Partnership
Allen & Overy LLP

Export Development Canada

Bexar County (Texas)

Westcon Group North America Inc.
Communications Test Design, Inc.
Microsoft Corporation

Microsoft Licensing, GP

SprintCom, Inc,

Sprint/United Management Company
JDS Uniphase Corporation

Flextronics Telecom Systems Ltd.

The Prudential Insurance Company of America
American International Corporation.

Tata Consultancy Services Limited

Scott Douglass

Hewlett-Packard Company

Sun Microsystems, Inc.

Polycom, Inc.

Campbell Creek, Ltd.

Tellabs Operations, Inc.

Computer Sciences Corporation

Glow Networks, Inc.

IBM Corporation

Powerwave Technologies, Inc.

Johnson Controls, Inc,

NeoPhotonics Corporation

Emerson Network Power Embedded
Oracle USA, Inc.

Verizon Communications Inc.

Cellco Partnership d/b/a Verizon Wireless

24

Page 33 of 42
Case 09-10138-MFW Doc 290-3 Filed 02/13/09

Cummins, Inc.

Cummins Power Generation

Cummins Filtration

Cummins Emission Solutions

Cummins Fuel Systems

Cummins Turbo Technologies
Hewlett-Packard Financial Services, Inc.
485 Lexington Owner LLC

Reckson Operating Partnership, L.P.
GTCI

Additional Parties

1328556 Ontario Inc.

AC Technologies, Inc.

Bay Networks do Brasil Ltda.

Bay Networks Redes de Dados para Sistemas Informaticos, Lda.
BNR Europe Limited.

Brightspeed SAS.

Capital Telecommunications Funding Corporation
Clarify K.K.

Clarify Limited.

CTFC Canada Inc.

Frisken Investments Pty, Ltd.

Guangdong-Nortel Telecommunications Equipment Company Ltd.
Integrated Networks Limited.

LG-Nortel Co. Ltd.

Matra Communication Cellular Terminals GrabH.
Matra Communications Business Systeme GmbH Germany.
Nor. Web DPL Limited.

Nortel Australia Communication Systems Pty. Limited.
Nortel Communications Holdings (1997) Limited.
Nortel Communications Inc.

Nortel de Mexico, 8. de R.L. de C.V.

Nortel GmbH.

Nortel Government Solutions Incorporated.

Nortel Limited, United Kingdom

Nortel Networks (Asia) Limited.

Nortel Networks (Austria) GmbH.

Nortel Networks (Bulgaria) EOOD.

Nortel Networks (CALA) Inc.

Nortel Networks (China) Limited.

Nortel Networks (India) Private Limited.

Nortel Networks (Ireland) Limited.

Nortel Networks (Northern [reland) Limited.

Nortel Networks (Photonics) Pty Ltd.

Nortel Networks (Shannon) Limited.

20

Page 34 of 42
Case 09-10138-MFW Doc 290-3 Filed 02/13/09

Nortel Networks (Thailand) Ltd.

Nortel Networks AB.

Nortel Networks AG.

Nortel Networks Applications Management Solutions Ine.
Nortel Networks AS.

Nortel Networks Australia Pty Limited.

Nortel Networks BV. The Netherlands

Nortel Networks Cable Solutions Inc.

NORTEL NETWORKS CAPITAL CORPORATION
Nortel Networks Chile $.A.

Nortel Networks Communications (Israel) Limited.
Nortel Networks Communications Engineering Ltd.
Nortel Networks Corporation (CAN)

Nortel Networks de Argentina S.A.

Nortel Networks de Bolivia 8.A.

Nortel Networks de Colombia S.A.

Nortel Networks de Guatemala Ltda.

Nortel Networks de Mexico S.A. de C.V.

Nortel Networks de Panama S.A.

Nortel Networks de Venezuela C.A.

Nortel Networks del Ecuador $.A.

Nortel Networks del Paraguay S.A.

Nortel Networks del Uruguay $.A.

Nortel Networks Eastern Mediterranean Ltd.

Nortel Networks Electronics Corporation.

Nortel Networks Employee Benefit Trustee Company Limited.
Nortel Networks Engineering Service Kft.

Nortel Networks Europe Sales Limited.

Nortel Networks Financial Services Limited Liability Company.
Nortel Networks France SAS.

Nortel Networks Global Corporation.

Nortel Networks Hispania, S.A.

Nortel Networks HPOCS Inc.

Nortel Networks India International Inc.

Nortel Networks India Technology Private Limited.
Nortel Networks International Corporation.

Nortel Networks International Finance & Holding B.V.
Nortel Networks Israel (Sales and Marketing) Limited.
Nortel Networks Japan.

Nortel Networks Korea Limited.

Nortel Networks Malaysia Sdn. Bhd.

Norte] Networks Malta Limited.

Nortel Networks Mauritius Ltd,

Nortel Networks Netas Telekomunikasyon A.S.

Nortel Networks New Zealand Limited.

Nortel Networks Northern Telecom Services de Argentina S.A.

26

Page 35 of 42
Case 09-10138-MFW Doc 290-3 Filed 02/13/09 Page 36 of 42

Nortel Networks 0.0.0.

Nortel Networks Optical Components Inc.

Nortel Networks OY.

Nortel Networks Peru 8.A.C.

Nortel Networks Polska Sp. Zz 0.0.

Nortel Networks Portugal, S.A.

Nortel Networks Properties Limited,

Nortel Networks Romania Srl.

Nortel Networks 8.p.A.

Nortel Networks S.R.O.

Nortel Networks Singapore Pte Ltd.

Nortel Networks Slovensko, s.r,0.

Nortel Networks South Africa (Proprietary) Limited.
Nortel Networks Southeast Asia Pte Ltd.

Nortel Networks Technology (Thailand) Ltd.

Nortel Networks Technology Corporation.

Nortel Networks Telecommunications Equipment (Shanghai) Co., Ltd.
Nortel Networks Telecomunicacoes do Brasil Industria e Comercio Ltda.
Nortel Networks Telecomunicacoes Industria e Comercio Ltda.
Nortel Networks UK. Limited.

Nortel Technology Excellence Centre Private Limited.
Nortel Trinidad and Tobago Limited.

Nortel Ukraine Ltd.

Nortel Ventures LLC.

Nortel Vietnam Limited.

Northern Telecom Canada Limited.

Northern Telecom France SA.

Northern Telecom International Inc.

Northern Telecom Maroc SA.

Northern Telecom PCN Limited.

Penril Datacomm Limited.

Periphonics Limited.

Pingtel Corp.

Promatory Communications (UK) Limited

PT Nortel Networks Indonesia.

Qtera Corporation.

R, Betts Investments Pty. Lid.

Regional Telecommunications Funding Corporation.
Shenyang Nortel Telecommunications Co., Ltd.
Sonoma Systems Europe Limited.

Star 21 Networks GmbH.

Telephone Switching International Limited.

The Nortel Foundation.

TSFC Canada Inc.

X-CEL Communications Limited.

Nortel Networks Corporation _

27
Case 09-10138-MFW Doc 290-3 Filed 02/13/09 Page 37 of 42

Exhibit B-2

List of Parties in Interest, or Affiliates Thereof That Have Engaged, Currently Engage, or
Served in Matters with Capstone and their Relationship to the Debtors

i. Capstone has a relationship with Bank of America, N.A., an apparent affiliate of Bank of
America/La Salle, Banc of America Securities, LLC, NationsBank of Texas, NA, and
Banc of America on matters unrelated to the Debtors. Capstone does not believe that this
relationship creates a conflict of interest regarding the Debtors or these Chapter 11 Cases.

2. Capstone has a relationship with The Bank of New York Mellon Corporation, an
apparent affiliate of Bank of New York/LDSEG, Bank of New York/London, Bank of
New York/Prudential, and Bank of New York/TD BK, Bank of New York/Barclays on
matters unrelated to the Debtors. Capstone does not believe that this relationship creates a
conflict of interest regarding the Debtors or these Chapter 11 Cases.

3. Capstone has a relationship with The Bank of Tokyo Trust Company, an apparent
affiliate of The Bank of Tokyo-Mitsubishi UFJ, Ltd. on matters unrelated to the Debtors.
Capstone does not believe that this relationship creates a conflict of interest regarding the

Debtors or these Chapter 11 Cases.

4, Capstone has a relationship with Barclays Bank PLC, an apparent affiliate of Barclay’s
Capital, Inc./Fixed Income Bond-C, Barclay’s Capital, Inc., LE on matters unrelated to
the Debtors. Capstone does not believe that this relationship creates a conflict of interest
regarding the Debtors or these Chapter 11 Cases.

5. Capstone has a relationship with BCE on matters unrelated to the Debtors. Capstone does
not believe that this relationship creates a conflict of interest regarding the Debtors or

these Chapter 11 Cases.

6. Capstone has a relationship with BMO Financial Group, an apparent affiliate of BMO
Nesbitt Burns, Inc/CDS on matters unrelated to the Debtors. Capstone does not believe
that this relationship creates a conflict of interest regarding the Debtors or these Chapter
11 Cases.

7. Capstone has a relationship with BNP Paribas, an apparent affiliate of BNP of Paribas
Prime Brokerage, Inc., BNP Paribas Securities Corp/Fixed Income, BNP/PPBC on
matters unrelated to the Debtors. Capstone does not believe that this relationship creates a
conflict of interest regarding the Debtors or these Chapter 11 Cases.

8. Capstone has a relationship with Brown Brothers Harriman & Co. on matters unrelated to
the Debtors, Capstone does not believe that this relationship creates a conflict of interest
regarding the Debtors or these Chapter 11 Cases.
10.

11.

12.

13,

14.

15.

16,

17.

18.

Case 09-10138-MFW Doc 290-3 Filed 02/13/09 Page 38 of 42

Capstone has a relationship with CIBC World Markets, Inc. on matters unrelated to the
Debtors. Capstone does not believe that this relationship creates a conflict of interest
regarding the Debtors or these Chapter 11 Cases.

Capstone has a relationship with Comerica Bank on matters unrelated to the Debtors.
Capstone does not believe that this relationship creates a conflict of interest regarding the |

Debtors or these Chapter 11 Cases.

Capstone has a relationship with Cigna on matters unrelated to the Debtors, Capstone
does not believe that this relationship creates a conflict of interest regarding the Debtors

or these Chapter 11 Cases.

Capstone has a relationship with Citadel Investment Group, an apparent affiliate of
Citadel Derivatives Group, LLC, Citadel Trading Group, LLC on matters unrelated to the
Debtors. Capstone does not believe that this relationship creates a conflict of interest
regarding the Debtors or these Chapter 11 Cases..

Capstone has a relationship with Citigroup Inc. (and certain affiliates including Citigroup
Global Markets, Inc.), an apparent affiliate of Citigroup Private Bank & Trust, Citigroup
Global Markets, Inc., and Citigroup Financial Services Corp. on matters unrelated to the
Debtors. Capstone does not believe that this relationship creates a conflict of interest
regarding the Debtors or these Chapter 11 Cases.

Capstone has a relationship with Credit Suisse Group, an apparent affiliate of Credit
Suisse Securities (USA) on matters unrelated to the Debtors. Capstone does not believe
that this relationship creates a conflict of interest regarding the Debtors or these Chapter

11 Cases.

Capstone has a relationship with Deutsche Bank, an apparent affiliate of Deutsche Bank
Securities, Inc. on matters unrelated to the Debtors. Capstone does not believe that this
relationship creates a conflict of interest regarding the Debtors or these Chapter 11 Cases.

Capstone has a relationship with Dresdner Kleinwort Wasserstein, an apparent affiliate of
Dresdner Kleinwort Securities LLC on matters unrelated to the Debtors. Capstone does
not believe that this relationship creates a conflict of interest regarding the Debtors or
these Chapter 11 Cases,

Capstone has a relationship with Duke Energy on matters unrelated to the Debtors.
Capstone does not believe that this relationship creates a conflict of interest regarding the
Debtors or these Chapter 11 Cases.

Capstone has a relationship with Export Development Canada on matters unrelated to the
Debtors. Capstone does not believe that this relationship creates a conflict of interest
regarding the Debtors or these Chapter 11 Cases.
19.

20.

21.

22,

23.

24,

29.

26.

27,

28.

Case 09-10138-MFW Doc 290-3 Filed 02/13/09 Page 39 of 42

Capstone has a relationship with Franklin Mutual, an apparent affiliate of Franklin
Templeton Mutual Funds on matters unrelated to the Debtors. Capstone does not believe
that this relationship creates a conflict of interest regarding the Debtors or these Chapter

11 Cases.

Capstone has a relationship with Fidelity, an apparent affiliate of Fidelity Investments
and Fidelity Treasury Portfolio Fund on matters unrelated to the Debtors. Capstone does
not believe that this relationship creates a conflict of interest regarding the Debtors or

these Chapter 11 Cases. ,

Capstone has a relationship with Goldman Sachs & Co., an apparent affiliate of Goldman
Sachs Execution & Clearing, LP and Goldman Sachs International Ltd. on matters
unrelated to the Debtors. Capstone does not believe that this relationship creates a
conflict of interest regarding the Debtors or these Chapter 11 Cases.

Capstone has a relationship with IBM Corporation on matters unrelated to the Debtors.
Capstone does not believe that this relationship creates a conflict of interest regarding the
Debtors or these Chapter 11 Cases.

Capstone has a relationship with Iron Mountain Information Management, Inc. on
matters unrelated to the Debtors. Capstone does not believe that this relationship creates a
conflict of interest regarding the Debtors or these Chapter 11 Cases.

Capstone has a relationship with Jefferies & Company, Inc. on matters unrelated to the
Debtors. Capstone does not believe that this relationship creates a conflict of interest
regarding the Debtors or these Chapter 11 Cases.

Capstone has a relationship with JPMorgan Chase & Co., an apparent affiliate of JP
Morgan Securities, Inc., JPM/CCS2, JPMGS CAP, JP Morgan Clearing Corp., JP
Morgan International, JP Morgan Chase Bank, National Association, JP Morgan
Securities Inc./Fixed Income, JP Morgan U.S. Money Market Funds on matters unrelated
to the Debtors. Capstone does not believe that this relationship creates a conflict of
interest regarding the Debtors or these Chapter 11 Cases.

Capstone has a relationship with Juniper Networks, Inc. on matters unrelated to the
Debtors. Capstone does not believe that this relationship creates a conflict of interest
regarding the Debtors or these Chapter 11 Cases.

Capstone has a relationship with KeyBank, N.A. on matters unrelated to the Debtors.
Capstone does not believe that this relationship creates a conflict of interest regarding the

Debtors or these Chapter 11 Cases.

Capstone has a relationship with Lehman Brothers, Inc. on matters unrelated to the
Debtors, Capstone does not believe that this relationship creates a conflict of interest
regarding the Debtors or these Chapter 11 Cases.
Case 09-10138-MFW Doc 290-3 Filed 02/13/09 Page 40 of 42

29, Capstone has a relationship with Loomis Sayles & Company on matters unrelated to the
Debtors. Capstone does not believe that this relationship creates a conflict of interest
regarding the Debtors or these Chapter 11 Cases.

30. Capstone has a relationship with Mackay Shields LLC on matters unrelated to the
Debtors. Capstone does not believe that this relationship creates a conflict of interest
regarding the Debtors or these Chapter 11 Cases.

31, Capstone has a relationship with Merrill Lynch, an apparent affiliate of Merrill Lynch
Pierce Fenner & Smith Inc. on matters unrelated to the Debtors. Capstone does not
believe that this relationship creates a conflict of interest regarding the Debtors or these

Chapter 11 Cases,

32. Capstone has a relationship with Morgan Stanley, an apparent affiliate of Morgan Stanley
& Co, Inc, and Morgan Stanley & Co. Inc./Retail on matters unrelated to the Debtors.
Capstone does not believe that this relationship creates a conflict of interest regarding the
Debtors or these Chapter 11 Cases. .

33. Capstone has a relationship with National City Corporation, an apparent affiliate of
National City Bank on matters unrelated to the Debtors. Capstone does not believe that
this relationship creates a conflict of interest regarding the Debtors or these Chapter 11

Cases,

34. Capstone has a relationship with PNC Bank, N.A. on matters unrelated to the Debtors,
Capstone does not believe that this relationship creates a conflict of interest regarding the

Debtors or these Chapter 11 Cases.

35. Capstone has a relationship with Pension Benefit Guaranty Corporation on matters
unrelated to the Debtors, Capstone does not believe that this relationship creates a
conflict of interest regarding the Debtors or these Chapter 11 Cases.

36, Capstone has a relationship with Raymond James & Associates, Inc., an apparent affiliate
of Raymond James Ltd on matters unrelated to the Debtors. Capstone does not believe
that this relationship creates a conflict of interest regarding the Debtors or these Chapter

11 Cases.

37. Capstone has a relationship with Royal Bank of Canada and RBC Capital Markets
Corporation, an apparent affiliate of RBC Dominion Securities Inc. on matters unrelated
to the Debtors. Capstone does not believe that this relationship creates a conflict of
interest regarding the Debtors or these Chapter 11 Cases.

38. Capstone has a relationship with Sankaty Advisors, LLC on matters unrelated to the
Debtors. Capstone does not believe that this relationship creates a conflict of interest
regarding the Debtors or these Chapter 11 Cases.
39,

40,

41.

42,

43,

44.

45,

46,

47.

48.

Case 09-10138-MFW Doc 290-3 Filed 02/13/09 Page 41 of 42

Capstone has a relationship with Scotia Capital Inc. on matters unrelated to the Debtors.
Capstone does not believe that this relationship creates a conflict of interest regarding the

Debtors or these Chapter 11 Cases.

Capstone has a relationship with SunTrust Bank, Inc, on matters unrelated to the Debtors.
Capstone does not believe that this relationship creates a conflict of interest regarding the

Debtors or these Chapter 11 Cases.

Capstone has a relationship with TD Securities, an apparent affiliate of TD Ameritrade
Inc., TD Waterhouse Canada, Inc. on matters unrelated to the Debtors. Capstone does not
believe that this relationship creates a conflict of interest regarding the Debtors or these
Chapter 11 Cases.

Capstone has a relationship with UBS, an apparent affiliate of UBS Financial Services,
Inc. and UBS Securities, LLC, UBS Realty Investors, LLC on matters unrelated to the
Debtors. Capstone does not believe that this relationship creates a conflict of interest

tegarding the Debtors or these Chapter 11 Cases.

Capstone has a relationship with Union Bank of California, N.A. on matters unrelated to
the Debtors. Capstone does not believe that this relationship creates a conflict of interest
regarding the Debtors or these Chapter 11 Cases.

Capstone has a relationship with US Bank, N.A. on matters unrelated to the Debtors.
Capstone does not believe that this relationship creates a conflict of interest regarding the

Debtors or these Chapter 11 Cases.

Capstone has a relationship with Wachovia Bank, N.A., an apparent affiliate of Wachovia
Securities, LLC, Wachovia Capital Markets, LLC on matters unrelated to the Debtors.
Capstone does not believe that this relationship creates a conflict of interest regarding the
Debtors or these Chapter 11 Cases.

Capstone has a relationship with Wells Fargo Bank, National Association (and certain
affiliates), on matters unrelated to the Debtors. Capstone does not believe that this
relationship creates a conflict of interest regarding the Debtors or these Chapter 11 Cases.

Capstone has a relationship with Wilmington Trust Company on matters unrelated to the
Debtors. Capstone does not believe that this relationship creates a conflict of interest
regarding the Debtors or these Chapter 11 Cases,

Capstone has in the past worked with, continues to work with, and has mutual clients
with, certain law firms who are potential parties-in-interest in these cases or who
represent such parties, including, without limitation, Morris Nichols Arsht & Tunnell;
Akin Gump Strauss Hauer & Feld LLP; Richards, Layton & Finger, P.A.; Latham &
Watkins LLP; Cleary Gottlieb Steen & Hamilton LLP; Bennett Jones LLP; Milbank,
Tweed, Hadley & McCloy LLP. Capstone does not believe that these relationships create
a conflict of interest regarding the Debtors or these Chapter 11 Cases.
49,

50.

Sl.

32.

53,

Case 09-10138-MFW Doc 290-3 Filed 02/13/09 Page 42 of 42

Capstone has in the past worked with, continues to work with, and has mutual clients
with, certain accounting firms who are potential parties-in-interest in these cases or who
represent such parties, including, without limitation, Ernst & Young LLP. Capstone does
not believe that this relationship creates a conflict of interest regarding the Debtors or
these Chapter 11 Cases.

Capstone routinely advises businesses in Chapter 11 proceedings, including in Delaware,
and may know all or some of the U.S. Trustees and judges involved in this case.
Capstone does not believe that this creates a conflict of interest regarding the Debtors or
these Chapter 11 Cases.

The Debtors have numerous customers, creditors and other parties with whom they
maintain business relationships. In addition, there may be a number of smaller firms that
are not listed as potential parties-in-interest. Capstone may have advisory or other
commercial or professional relationships with such entities or persons unrelated to the
Debtors or these Chapter 11 Cases. Capstone does not believe that these relationships
create a conflict of interest regarding the debtors or these Chapter 11 Cases.

Capstone may have in the past employed and may continue to employ certain insurers or
insurance brokers (or their apparent affiliates) who are potential parties-in-interest in
these cases. Capstone does not believe that these relationships create a conflict of interest
regarding the Debtors or these Chapter 11 Cases.

Capstone has in the past and may continue to work on engagements where certain
investment banking firms represented or represent the same or other parties, including,
without limitation, Jefferies & Company, Inc. and Lazard Fréres & Co. LLC. Capstone
does not believe that these relationships create a conflict of interest regarding the Debtors
or these Chapter 11 Cases.
